       Case 2:07-cr-02060-LRS          ECF No. 82    filed 12/20/07   PageID.281 Page 1 of 3




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3                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF WASHINGTON
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5     UNITED STATES OF AMERICA,
                                                         NO. CR-07-2060-LRS-2
6                            Plaintiff,
7       v.                                               ORDER GRANTING DEFENDANT’S
                                                         MOTION TO DISMISS
8     JORGE VICTOR ARIAS,
9
                             Defendant.
10

11        BEFORE THE COURT is Defendant Jorge Victor Arias’ Motion to Dismiss
12   For Discovery Violations, Ct. Rec. 68, filed December 2, 2007.                             A jury
13   trial was previously scheduled for December 4, 2007 but was continued
14   based   on    the       present    motion      to   dismiss      filed   December    2,    2007.
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     Defendant Arias, represented by Alex Hernandez, III, argues that under
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     Roviaro v. U.S., 353 U.S. 53, 60-61 (1957) the Court can and should
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     dismiss      the    case       based   on   the      government’s        failure    to    disclose
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     information        it    was    required    to      disclose.       More    specifically,      the
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     government did not provide the grand jury transcript until approximately
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     two business days before trial nor the identity of the confidential
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22   informant at any time prior to trial and within the time required by the

23   Court’s order of July 16, 2007 (three weeks before trial).                                 Defense

24   argues there are no other witnesses or information it can use to prepare

25   or present a defense at this stage in the proceedings.                         The government,

26   represented by James Hagarty argued that dismissal was a harsh outcome


     ORDER GRANTING MOTION TO DISMISS - 1
       Case 2:07-cr-02060-LRS    ECF No. 82     filed 12/20/07   PageID.282 Page 2 of 3




1    and that the Court should adopt a remedy which preserves the government’s
2    right to proceed. The government indicates that it has been diligent but
3    unsuccessful in trying to locate the confidential informant and that the
4    failure to provide the grand jury transcript when specified was due to
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     matters beyond its control.          Further, the government argues that grand
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     jury transcripts were ultimately not required for disclosure based on the
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     government’s inability to use the witness who testified at the grand
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     jury.
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           The Court finds that the identity of the confidential informant is
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     potentially critical to the defense based on the lack of other witnesses
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     and should have been timely disclosed in accord with the Court’s order.
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13   Prejudice results from defendant’s inability to prepare a trial strategy.

14   Based on information supplied during oral argument, there is little

15   likelihood    that   the    confidential       informant      can    be   located    at   any

16   reasonable time in the future. Additionally, though not essential to the
17   Court’s ruling if this case goes forward, the weight of the available
18   remaining    evidence      against   the     Defendant      and     the   absence    of   the
19   confidential informant is in serious dispute.                This order is intended to
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     supplement and confirm the oral ruling issued from the bench at the time
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     this matter came on for a hearing.             Accordingly,
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           IT IS HEREBY ORDERED:
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           1.    Defendant Arias’ Motion to Dismiss, Ct. Rec. 68, is GRANTED.
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     The Indictment is dismissed with prejudice.
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26   ///


     ORDER GRANTING MOTION TO DISMISS - 2
      Case 2:07-cr-02060-LRS   ECF No. 82   filed 12/20/07   PageID.283 Page 3 of 3




1         2.   The trial date of January 7, 2008 is VACATED.
2         IT IS SO ORDERED.      The District Court Executive is directed to
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     enter this order and to provide copies to all counsel, the U.S.
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     Probation Office, the U.S. Marshal, and the Jury Administrator.
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          DATED this 20th      day of December, 2007.
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7                                                    s/Lonny R. Suko
8                                             ___________________________________
                                                        LONNY R. SUKO
9                                               UNITED STATES DISTRICT JUDGE

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     ORDER GRANTING MOTION TO DISMISS - 3
